                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


RUTH MARDEN                                        )
and JOHN MARDEN,                                   )
                                                   )
       Plaintiffs,                                 )
                                                   )
v.                                                 )      Case No. 3:07-cv-0209
                                                   )      Judge Trauger
GAYLORD ENTERTAINMENT CO.,                         )
c/o Carter R. Todd,                                )
DEVERY SIMS,                                       )
and PHILIP DONALDSON,                              )
                                                   )
       Defendants.                                 )


                                             ORDER

       For the reasons expressed in the accompanying Memorandum, the Motion for Final

Summary Judgment, or, in the Alternative, Partial Summary Judgment as to Punitive Damages

filed by the defendant Gaylord Entertainment Co. is DENIED with respect to liability and

GRANTED with respect to punitive damages.

       It is so Ordered.

       Entered this 25th day of June 2008.



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                                                   ALETA A. TRAUGER
                                                   United States District Judge




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